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                                   4                              UNITED STATES DISTRICT COURT

                                   5                             NORTHERN DISTRICT OF CALIFORNIA

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                                   7   CENTER FOR BIOLOGICAL                      Case No. 19-cv-05206-JST
                                       DIVERSITY, et al.,
                                   8               Plaintiffs,                    ORDER GRANTING MOTION TO
                                   9                                              REMAND
                                             v.
                                  10                                              Re: ECF No. 146
                                       DEB HAALAND, et al.,
                                  11               Defendants,
                                  12
Northern District of California




                                             and
 United States District Court




                                  13
                                       AMERICAN FARM BUREAU
                                  14   FEDERATION, et al.,
                                                   Defendant-Intervenors.
                                  15

                                  16   STATE OF CALIFORNIA, et al.,
                                  17               Plaintiffs,                   Case. No. 4:19-cv-06013-JST

                                  18         v.                                  Re: ECF No. 165

                                  19   DEB HAALAND, et al.,
                                  20               Defendants,
                                  21         and
                                  22   STATE OF ALABAMA, et al.,
                                  23               Defendant-Intervenors.
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                                            Case 4:19-cv-06013-JST Document 229 Filed 11/14/22 Page 2 of 6




                                   1        ANIMAL LEGAL DEFENSE FUND,                      Case No. 4:19-cv-06812-JST

                                   2                       Plaintiff,                       Re: ECF No. 109

                                   3                 v.

                                   4        DEB HAALAND, et al.,

                                   5                       Defendants,

                                   6              and

                                   7        STATE OF ALABAMA, et al.,

                                   8                       Defendant-Intervenors.

                                   9
                                                Before the Court is a motion to remand without vacatur filed by Defendants Deb Haaland,
                                  10
                                       U.S. Fish and Wildlife Service, Gina Raimondo, and National Marine Fisheries Service
                                  11
                                       (collectively “the Services”). ECF No. 165. The Court will grant the motion for remand.1
                                  12
Northern District of California
 United States District Court




                                       I.       BACKGROUND
                                  13
                                                A.        The Endangered Species Act
                                  14
                                                The Endangered Species Act (“ESA”) “was enacted in 1973 to prevent the extinction of
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                                       various fish, wildlife, and plant species.” Turtle Island Restoration Network v. Nat’l Marine
                                  16
                                       Fisheries Serv., 340 F.3d 969, 974 (9th Cir. 2003). The ESA aims “to provide a means whereby
                                  17
                                       the ecosystems upon which endangered species and threatened species depend may be conserved”
                                  18
                                       and “to provide a program for the conservation of such endangered species and threatened
                                  19
                                       species.” 16 U.S.C. § 1531(b). The ESA represents “the most comprehensive legislation for the
                                  20
                                       preservation of endangered species ever enacted by any nation.” Tenn. Valley Auth. v. Hill, 437
                                  21
                                       U.S. 153, 180 (1978). It reflects “a conscious decision by Congress to give endangered species
                                  22
                                       priority over the ‘primary missions’ of federal agencies.” Id. at 185. “The responsibility for
                                  23
                                       administration and enforcement of the ESA lies with the Secretaries of Commerce and Interior,
                                  24

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                                       1
                                         The Services filed identical motions in all three related cases: Center for Biological Diversity v.
                                  26   Haaland, No. 19-cv-05206-JST (N.D. Cal.); State of California v. Haaland, No. 19-cv-6013 (N.D.
                                       Cal.), and Animal Legal Def. Fund v. Haaland, 19-cv-06812 (N.D. Cal.). ECF No. 146 at 9 n.2
                                  27   (“Federal Defendants are filing an identical motion and memorandum in all three cases.”). The
                                  28   Court refers to the cases collectively in the singular tense.

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                                   1   who have delegated the responsibility to the [National Marine Fisheries Service (“NMFS”)] with

                                   2   respect to marine species, and to the Fish and Wildlife Service (“FWS”) with respect to terrestrial

                                   3   species.” Turtle Island, 340 F.3d at 973-74 (citing 50 C.F.R. § 402.01).

                                   4           To accomplish its purposes, the ESA “sets forth a comprehensive program to limit harm to

                                   5   endangered species within the United States.” California ex rel. Lockyer v. U.S. Dept. of

                                   6   Agriculture, 575 F.3d 999, 1018 (9th Cir. 2009). Section 4 of the ESA requires NMFS and FWS

                                   7   to identify endangered and threatened species and designate their “critical habitats.” 16 U.S.C.

                                   8   1533(a)(1)-(3).2 Section 7 “imposes a procedural duty on federal agencies to consult with either

                                   9   the [NMFS] or the FWS before engaging in a discretionary action, which may affect listed

                                  10   species.”3 Turtle Island, 340 F.3d at 974 (citing 16 U.S.C. § 1536(a)(2); 50 C.F.R. §§ 402.14,

                                  11   402.01(b)). This consultation procedure aims to allow the Services “to determine whether the

                                  12   federal action is likely to jeopardize the survival of a protected species or result in the destruction
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                                  13   of its critical habitat, and if so, to identify reasonable and prudent alternatives that will avoid the

                                  14   action’s unfavorable impacts.” Id. (citing 16 U.S.C. § 1536(b)(3)(A)). And Section 9 prohibits

                                  15   the “take” (e.g. killing, harassing, harming, or collecting) of listed endangered fish and wildlife

                                  16   species and prohibits other actions with respect to listed endangered plant species. 16 U.S.C. §§

                                  17   1532, 1538. Section 4(d) authorizes the extension of Section 9 prohibitions to threatened species.

                                  18   Id. § 1533(d).

                                  19           B.       Procedural History

                                  20           In August 2019, the Services enacted a series of regulations that modified how the Services

                                  21   implement the ESA (collectively “2019 ESA Rules”). The Listing Rule, 84 Fed. Reg. 45,020,

                                  22   modified how the Services add, remove, and reclassify endangered or threatened species and the

                                  23   criteria for designating listed species’ critical habitat. The Blanket Rule Repeal, 84 Fed. Reg.

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                                  25    The Act charges the Secretary of the Interior and Secretary of Commerce with this authority,
                                       16 U.S.C. § 1532(15), but each has (respectively) delegated this authority to the FWS and NMFS.
                                  26   50 C.F.R. § 402.01(b). For simplicity, this order refers to the Services and not the Secretaries, and
                                       distinguishes between the NMFS and FWS only when relevant.
                                  27   3
                                         “When the acting agency is either the [NMFS] or the FWS, the obligation to consult is not
                                  28   relieved, instead, the agency must consult within its own agency to fulfill its statutory mandate.”
                                       Turtle Island, 340 F.3d at 974 (citing 16 U.S.C. § 1536(a)(2); 50 C.F.R. §§ 402.14, 402.01(b)).
                                                                                         3
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                                   1   44,753, eliminated the FWS’s former policy of automatically extending to threatened species the

                                   2   protections against “take” that Section 9 automatically affords to endangered species. And the

                                   3   Interagency Consultation Rule, 84 Fed. Reg. 44,976, changed how the Services work with federal

                                   4   agencies to prevent proposed agency actions that could harm listed species or their critical habitat.

                                   5          Soon after the regulations were finalized in 2019, Plaintiffs – environmental groups, states,

                                   6   and cities – challenged the 2019 ESA Rules as unlawful, arguing that they violate the ESA, the

                                   7   Administrative Procedure Act (“APA”), and the National Environmental Policy Act (“NEPA”).

                                   8   The Services moved to dismiss all three cases on standing and ripeness grounds. ECF No. 33.

                                   9   The Court granted the motions with respect to some plaintiffs and denied them as to other

                                  10   plaintiffs. The latter group of plaintiffs were granted leave to amend and then filed amended

                                  11   complaints, which the Services answered. The Court also granted motions to intervene filed by a

                                  12   different group of states (“State Intervenors”),4 private landowners (“Landowner Intervenors”),5
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                                  13   and various industry groups (“Industry Intervenors”)6 (collectively “Intervenor-Defendants”).

                                  14          On January 19, 2021, Plaintiffs in each case filed motions for summary judgment. E.g.,

                                  15   ECF No. 116. The next day, President Biden signed Executive Order 13990 (titled “Executive

                                  16   Order on Protecting Public Health and the Environment and Restoring Science to Tackle the

                                  17   Climate Crisis”), directing the Services to evaluate and, where appropriate, revise or rescind

                                  18   environmental and public health-related regulations that issued during the prior four years that

                                  19   conflicted with national objectives set forth in the Order. 86 Fed. Reg. 7037 (Jan. 20, 2021). In a

                                  20   publication accompanying the Executive Order, the White House specifically directed the Services

                                  21   to review the 2019 ESA Rules challenged in this case. As a result of the Services’ review of these

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                                  23   4
                                        These intervenors are the states of Alaska, Arizona, Idaho, Kansas, Montana, Nebraska, West
                                  24   Virginia, and Wyoming.
                                       5
                                  25    These intervenors are Ken Klemm, the Beaver Creek Buffalo Company, the Washington
                                       Cattlemen’s Association, and the Pacific Legal Foundation.
                                  26
                                       6
                                        These intervenors are the American Farm Bureau Federation, the American Forest Resource
                                  27   Council, the American Petroleum Institute, the Federal Forest Resource Coalition, the National
                                       Alliance of Forest Owners, the National Association of Home Builders, the National Cattlemen’s
                                  28
                                       Beef Association, and the Public Lands Council.
                                                                                       4
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                                   1   regulations, on June 4, 2021, FWS announced its intent to rescind the Section 4(d) Rule and the

                                   2   Services announced their intent to revise the Section 4 and Section 7 Rules.

                                   3            Once the new presidential administration signaled that it would reevaluate the 2019 ESA

                                   4   Rules and rescind many of them, the parties agreed to a series of litigation stays, which lasted a

                                   5   total of 150 days. Because the Plaintiffs were then unwilling to agree to further stays, the Services

                                   6   filed a motion to stay in August 2021. In October 2021, the Court denied the motion to stay,

                                   7   finding that there was at least “a fair possibility that [a] stay will work damage” because of the

                                   8   continuing applicability of the challenged regulations. ECF No. 145 at 21-23. The Court lifted

                                   9   the parties’ stipulated stay and restored the summary-judgment briefing schedule to calendar.

                                  10            Plaintiffs then renoticed their motions for summary judgment. In response, the Services

                                  11   filed this motion to remand without vacatur. Plaintiffs oppose the Services’ motion, asking that

                                  12   the Court either (1) remand with vacatur – Plaintiffs’ preferred outcome – or (2) deny the
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                                  13   Services’ motion altogether and resume summary judgment briefing so the matter can be

                                  14   adjudicated on the merits. The Intervenor-Defendants largely support remand without vacatur.

                                  15   II.      JURISDICTION

                                  16            This Court has jurisdiction under 28 U.S.C. § 1331.

                                  17   III.     LEGAL STANDARD

                                  18            When an agency’s action is challenged in federal court, “it may seek remand [of the

                                  19   challenged regulations] even absent any intervening events, without confessing error, to reconsider

                                  20   its previous position.” In re Clean Water Act Rulemaking, No. CV-20-04636 WHA, 2021 WL

                                  21   4924844, at *4 (N.D. Cal. Oct. 21, 2021). “Generally, courts only refuse voluntarily requested

                                  22   remand when the agency’s request is frivolous or made in bad faith.” Cal. Cmtys. Against Toxics

                                  23   v. U.S. E.P.A., 688 F.3d 989, 992 (9th Cir. 2012).

                                  24            In determining whether to vacate agency action concurrently with remand, the Court

                                  25   considers two factors: how serious the agency’s errors are and “the disruptive consequences of an

                                  26   interim change that may itself be changed.” Id. (quoting Allied-Signal, Inc. v. U.S. Nuclear

                                  27   Regulatory Com’n, 988 F.2d 146, 150-51 (D.C. Cir. 1993)) (internal quotation marks omitted). In

                                  28   analyzing the first factor, courts assess “whether the agency . . . could adopt the same rule on
                                                                                         5
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                                   1   remand, or whether [the] fundamental flaws in the agency’s decision make it unlikely that the

                                   2   same rule would be adopted on remand.” Pollinator Stewardship Council v. E.P.A., 806 F.3d 520,

                                   3   532 (9th Cir. 2015). “[C]ourts in the Ninth Circuit decline vacatur only in rare circumstances.”

                                   4   Klamath-Siskiyou, 109 F. Supp. 3d 1238, 1242 (N.D. Cal. 2015) (citing Humane Soc’y v. Locke,

                                   5   626 F.3d 1040, 1053 n.7 (9th Cir. 2010)). “Vacatur is the presumptive remedy.” Hunters v.

                                   6   Marten, 470 F. Supp. 3d 1151, 1181 (D. Mont. 2020), appeal dismissed sub nom. Helena Hunters

                                   7   & Anglers Ass’n v. Marten, No. 20-35771, 2020 WL 8678109 (9th Cir. Dec. 28, 2020) (citation

                                   8   omitted).

                                   9   IV.    DISCUSSION

                                  10          A.      Motion for Remand

                                  11          No party argues that the Services’ request for remand in this case is frivolous or in bad

                                  12   faith. The Court grants the Services’ motion for remand.
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                                  13          B.      Vacatur

                                  14          The Court next turns to the question of vacatur. The Court must first address the threshold

                                  15   question of whether the Court can vacate the 2019 ESA Rules without fully adjudicating the

                                  16   merits of Plaintiffs’ claims. The Court concludes that it cannot grant pre-merits vacatur on

                                  17   voluntary remand. See Louisiana v. American Rivers, 142 S. Ct. 1347 (2022) (mem.) (granting

                                  18   application for stay of district court pre-merits vacatur order); In re: Wash. Cattlemen’s Ass’n, No.

                                  19   22-70194, 2022 WL 4393033 (9th Cir. Sept. 21, 2022).

                                  20                                             CONCLUSION

                                  21          For the reasons stated above, the Court grants the Services’ motion for voluntary remand.

                                  22   All other pending motions are denied as moot.

                                  23          IT IS SO ORDERED.

                                  24   Dated: November 14, 2022
                                                                                        ______________________________________
                                  25
                                                                                                      JON S. TIGAR
                                  26                                                            United States District Judge

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